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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



                                                           Master Case No.
IN RE GEORGIA SENATE BILL 202
                                                           1:21-MI-55555-JPB



SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,

                         Plaintiffs,
                   v.
                                                           Civil Action No.
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,                 1:21-cv-01284-JPB

                        Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,


                        Intervenor-Defendants.



             AME PLAINTIFFS’ RULE 5.4 CERTIFICATE OF
                     SERVICE OF DISCOVERY

      Pursuant to Local Rules 5.4 and 26.3(A), I hereby certify that on February 7,

2023, I served the AME Plaintiffs’ Second Set of Requests for Admission to

Defendant Brad Raffensperger upon all counsel of record.


This 7th day of February, 2023.
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